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                                      Exhibit B


                                       Redline




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __391

                        ORDER (I) AUTHORIZING
           AND APPROVING PROCEDURES TO REJECT EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing and

approving procedures (as described in the Motion, the “Rejection Procedures”) for rejecting

executory contracts and unexpired leases (each, a “Contract,” and collectively, the “Contracts”)

and (b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and the district court having jurisdiction under 28 U.S.C. § 1334, which was

referred to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that this Court may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate and

no other notice need be provided; and this Court having reviewed the Motion and having heard

the statements in support of the relief requested therein at a hearing before this Court

(the “Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The following procedures (the “Rejection Procedures”) are approved in

connection with rejecting Contracts:

                   a. Rejection Notice. The Debtors shall file one or more notices, substantially
                      in the form attached hereto as Exhibit 1 (each, a “Rejection Notice”), to
                      reject a Contract or Contracts pursuant to section 365 of the Bankruptcy
                      Code, which Rejection Notice(s) shall set forth, among other things, with
                      respect to each Contract listed on the Rejection Notice: (i) the Contract or
                      Contracts to be rejected; (ii) the Debtor or Debtors party to such Contract;
                      (iii) the names and addresses of the counterparties to such Contract;
                      (iv) the proposed effective date of the rejection for such Contract
                      (the “Rejection Date”); and (v) if such Contract is a lease, related to real
                      property and/or improvements on real property, (A) the location and
                      summary description of any personal property owned by the Debtors to be
                      abandoned, if any, that is located on or within the real property and/or
                      improvements (the “Abandoned Property”), and (B) the location and
                      summary description of any personal property, including Rolling Stock
                      and equipment, that is owned by any non-Debtor third party and located
                      on or within the real property and/or improvements (the “Non-Debtor
                      Personal Property”). The Rejection Notice shall also set forth the
                      deadlines and procedures for filing objections to the Rejection Notice (as
                      set forth below). Each Rejection Notice may list multiple Contracts;
                      provided that the number of counterparties to Contracts listed on any one
                      Rejection Notice shall be limited to no more than 100. To the extent
                      reasonably practical, the Debtors shall provide the professionals for the
                      Committee, the Junior DIP Lender, the B-2 Lenders, the Prepetition ABL
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                         Agent, and the United States Department of the Treasury (collectively,
                         the “Consultation Parties”), with advance notice before filing any
                         Rejection Notice. For the avoidance of doubt, the Debtors may serve
                         multiple Rejection Notices, as long as the counterparties listed on each
                         notice are limited to no more than 100.

                 b.      Service of Rejection Notices. The Debtors will cause each Rejection
                         Notice to be served: (i) via email, if available, and by overnight delivery
                         service upon (a) the Contract counterparties affected by such Rejection
                         Notice (each, a “Rejection Counterparty”) at the notice address provided
                         in the applicable Contract (and upon such Rejection Counterparty’s
                         counsel, if known), and (b) all parties who may have any interest in any
                         Abandoned Property (any non-Debtor third party that owns Non-Debtor
                         Personal Property located on or within the real property and/or
                         improvements that are being rejected (and upon such party’s counsel, if
                         known); and (ii) by first class mail, email, or fax upon: (a) the U.S.
                         Trustee; (b) the Committee and Akin Gump Strauss Hauer & Feld LLP as
                         proposed counsel to the Committee; (c) the office of the attorney general
                         for each of the states in which the Debtors operate; (d) United States
                         Attorney’s Office for the District of Delaware; (e) the Internal Revenue
                         Service; (f) the United States Securities and Exchange Commission;
                         (g) the Junior DIP Lender and counsel thereto; (h) the Junior DIP Agent
                         and counsel thereto; (i) White & Case LLP, as counsel to the B-2 Lenders;
                         (j) the Prepetition ABL Agent and counsel thereto; (k) the B-2 Agent and
                         counsel thereto; (l) the Prepetition UST Tranche A Agent and counsel
                         thereto; (m) the Prepetition UST Tranche B Agent and counsel thereto;
                         (n) the United States Department of Justice and Arnold & Porter Kaye
                         Scholer LLP as counsel to the United States Department of the Treasury;
                         and (o) any party that has requested notice pursuant to Bankruptcy
                         Rule 2002 (collectively, the “Master Notice Parties”).

                 c.      Objection Procedures. Parties objecting to a proposed rejection must file
                         and serve a written objection3 so that such objection is filed with the Court
                         on the docket of the Debtors’ chapter 11 cases and actually received by
                         the following parties (collectively, the “Objection Service Parties”) no
                         later than fourteen (14) calendar days after the date the Debtors file and
                         serve the relevant Rejection Notice (the “Rejection Objection Deadline”):
                         (i) the Debtors, Yellow Corporation, 11500 Outlook Street, Suite 400,
                         Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed
                         counsel to the Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle,
                         Chicago,        Illinois,    60654,        Attn.: Whitney          Fogelberg
                         (whitney.fogelberg@kirkland.com)            and        Rob          Jacobson
                         (rob.jacobson@kirkland.com) and Kirkland & Ellis LLP, 601 Lexington


3   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
    objection to the rejection of any other Contract listed on such Rejection Notice.

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       Avenue, New York, New York 10022, Attn.: Allyson B. Smith
       (allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones
       LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington,
       Delaware 19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com),
       Timothy P. Cairns (tcairns@pszjlaw.com), Peter J. Keane
       (pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii)
       the Office of the United States Trustee for the District of Delaware, 844
       King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.:
       Jane Leamy (jane.m.leamy@usdoj.gov) and Richard Schepacarter
       (richard.schepacarter@usdoj.gov); (iv) proposed counsel to the
       Committee, (A) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
       Bank of America Tower, New York, NY 10036-6745 US, Attn.: Philip C.
       Dublin       (pdublin@akingump.com),          Meredith      A.     Lahaie
       (mlahaie@akingump.com), and Kevin Zuzolo (kzuzolo@akingump.com)
       and (B) proposed co-counsel to the Committee, Benesch Friedlander
       Coplan & Aronoff LLP, 1313 North Market Street, Suite 1201,
       Wilmington,        DE,     19801,     Attn.:   Jennifer     R.    Hoover
       (jhoover@beneschlaw.com)           and       Kevin       M.      Capuzzi
       (kcapuzzi@beneschlaw.com); (v) counsel to the Junior DIP Lender,
       (A) Quinn Emmanuel Urquhart & Sullivan, 865 S. Figueroa St., 10th
       Floor, Los Angeles, CA 90017, Attn.: Eric Winston (ericwinston
       @quinnemanuel.com) and 51 Madison Avenue, 22nd Floor, New York,
       NY 10010, Attn.: Susheel Kirplani (susheelkirpalani@quinnemanuel.com)
       and (B) Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor,
       Chicago, IL 60606, Attn.: Lucas S. Smith (Luke.Smith@ropesgray.com)
       and 1211 Avenue of the Americas, New York, NY 10036, Attn.: Natasha
       S. Hwangpo (Natasha.Hwangpo@ropesgray.com); (vi) counsel to the
       Junior DIP Agent, Holland & Knight LLP, 50 N. Riverside Plaza, Suite
       2700,     Chicago,      IL    60606,   Attn.:    Joshua     M.   Spencer
       (Joshua.Spencer@hklaw.com)           and      Phillip      W.     Nelson
       (Phillip.Nelson@hklaw.com); (vii) counsel to the B-2 Lenders, White &
       Case LLP, 1221 Avenue of the Americas, New York, NY 10020 Attn.:
       Scott Greissman (sgreissman@whitecase.com), Elizabeth Feld
       (efeld@whitecase.com), and Andrew Zatz (azatz@whitecase.com);
       (viii) counsel to the Prepetition ABL Agent, Choate, Hall & Stewart LLP,
       Two International Place, Boston, MA 02110, Attn.: Kevin Simard
       (ksimard@choate.com) and Hampton Foushee (hfoushee@choate.com);
       (ix) counsel to the B-2 Agent, Holland & Knight LLP, 50 N. Riverside
       Plaza, Suite 2700, Chicago IL 60606, Attn.: Joshua M. Spencer
       (Joshua.Spencer@hklaw.com) and Phillip W. Nelson (Phillip.Nelson
       @hklaw.com); (x) counsel to the Prepetition UST Tranche A Agent,
       Hogan Lovells US LLP, 390 Madison Avenue, New York, New York
       10017, Attn.: Ronald J. Silverman and Christopher R. Bryant; (xi) counsel
       to the Prepetition UST Tranche B Agent, Hogan Lovells US LLP, 390
       Madison Avenue, New York, NY 10017, Attn.: Ronald J. Silverman
       (ronald.silverman@hoganlovells.com) and Christopher R. Bryant
       (chris.bryant@hoganlovells.com); (xii) counsel to the United States
                                4
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       Department of the Treasury, Arnold & Porter Kaye Scholer LLP, 70 West
       Madison Street, Suite 4200, Chicago, IL 60602, Attn.: Michael
       Messersmith (michael.messersmith@arnoldporter.com), 250 West 55th
       Street, New York, NY 10019, Attn.: Benjamin Mintz
       (benjamin.mintz@arnoldporter.com), and 601 Massachusetts Ave., N.W.,
       Washington, DC 20001, Attn.: Rosa Evergreen (rosa.evergreen
       @arnoldporter.com); and (xiv) the United States Department of Justice,
       1100 L St NW Rm 7102, Washington, DC 20005-4035, Attn.: I-Heng.Hsu
       (I-Heng.Hsu@usdoj.gov) and Crystal Geise (Crystal.Geise@usdoj.gov).

  d.   No Objection Timely Filed. If no objection to the rejection of any
       Contract is timely filed, each Contract listed in the applicable Rejection
       Notice shall be rejected as of the Rejection Date set forth in the Rejection
       Notice or such other date as the Debtors and the counterparty or
       counterparties to such Contract(s) agree; provided that the effective date
       of a rejection of a nonresidential real property lease shall not occur until
       the later of (i) the date the Debtors file and serve a Rejection Notice for
       such lease, (ii) the Rejection Date set forth in the Rejection Notice, and
       (iii) the date the Debtors relinquish control of the premises by notifying
       the affected landlord in writing of the Debtors’ surrender of the premises
       and (A) turning over keys, key codes, and security codes, if any, to the
       affected landlord or (B) notifying the affected landlord in writing that the
       keys, key codes, and security codes, if any, are not available, but the
       landlord may rekey the leased premises.

  e.   Unresolved Timely Objections. If one or more objections to the rejection
       of any Contract(s) listed in the applicable Rejection Notice is timely filed
       and properly served as specified above and not withdrawn or resolved, the
       Debtors shall file a notice for a hearing to consider the rejection of the
       Contract(s) implicated by such objection(s) and shall provide at least
       seven (7) days’ notice of such hearing to each objecting party and the
       Objection Service Parties. If any such objection is overruled or
       withdrawn, the Contract(s) that are the subject of such objection shall be
       rejected as of the Rejection Date set forth in the Rejection Notice or such
       other date as agreed by the parties or determined by the Court as set forth
       in any entered order overruling such objection.

  f.   No Application of Security Deposits. If the Debtors have deposited
       monies with a Rejection Counterparty as a security deposit or other
       arrangement, such Rejection Counterparty may not setoff, recoup, or
       otherwise use such deposit without the prior approval of the Court, unless
       the Debtors and the applicable Rejection Counterparty otherwise agree;
       provided that the Debtors shall provide not less than two (2) business
       days’ notice to the professionals to the Consultation Parties prior to
       consenting to a setoff or recoupment with respect to any single deposit of
       more than $50,000.


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  g.   Abandoned Property. The Debtors are authorized, but not directed, at any
       time on or before the applicable Rejection Date, to remove or abandon, at
       their option, any of the Debtors’ personal property that may be located on
       the Debtors’ leased premises that are subject to a rejected Contract and is
       (a) of minimal or no material value or benefit to the Debtors’ estates
       and/or (b) burdensome insofar as the costs and expenses of removal and
       storage of such property are likely to exceed the net proceeds realizable
       from their sale. The Debtors shall generally describe the Abandoned
       Property in the applicable Rejection Notice and their intent to abandon
       such property. Absent a timely objection, any and all Abandoned
       pProperty located on the Debtors’ leased premises on the Rejection Date
       of anthe applicable lease of non-residential real property shall be deemed
       abandoned pursuant to section 554 of the Bankruptcy Code, as is, effective
       as of the Rejection Date. After the Abandoned Property is deemed
       abandoned pursuant to section 554 of the Bankruptcy Code, the applicable
       Contract counterparty or counterparties may, in their sole discretion and
       without further order of this Court, utilize and/or dispose of such property
       without liability to the Debtors or third parties and, to the extent
       applicable, the automatic stay is modified to allow such disposition. To
       the extent the Debtors’ reject a non-residential real property lease and
       there is Non-Debtor Personal Property located on the premises, the
       Debtors shall, in accordance with Section 2(b) hereof, serve a copy of the
       Rejection Notice on said parties and within three (3) business days of
       filing a Rejection Notice. Further, the Debtors will make reasonable
       efforts to contact any third parties that may be known to the Debtors to
       have a property interest in such Non-Debtor Personal Property and such
       third parties shall be provided reasonable access to the leased premises
       and reasonable time and opportunity to retrieve their respective
       Non-Debtor Personal Property from the premises prior to the effectiveness
       of any Rejection Date. For the avoidance of doubt, such Non-Debtor
       Personal Property is not abandoned and is not free and clear of any Liens,
       claims, encumbrances, interests, and rights of its non-Debtor owners.

  h.   Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
       must be filed on or before the later of (i) the applicable deadline for filing
       proofs of claim established in these chapter 11 cases, and (ii) thirty
       (30) days after the later of (A) the effective Rejection Date and (B) the
       date the Debtors relinquish control of the premises by notifying the
       affected landlord in writing of the Debtors’ surrender of the premises. If
       no proof of claim is timely filed, such claimant shall be forever barred
       from asserting a claim for damages arising from the rejection and from
       participating in any distributions on such a claim that may be made in
       connection with these chapter 11 cases.

  i.   Removal from Schedule. The Debtors reserve the right to remove any
       Contract from the schedule to any Rejection Notice after consultation with


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                       the Consultation Parties at any time prior to the later of the Rejection Date
                       or the date of entry of an order of the Court approving the rejection.

       3.      For the avoidance of doubt, Non-Debtor Personal Property shall not be deemed or

constitute Abandoned Property.

       4.      3. Approval of the Rejection Procedures and this Order will not prevent the

Debtors from seeking to reject a Contract by separate motion.

       5.      4. To the extent of any conflict between this Order and the De Minimis Asset

Order, the De Minimis Asset Order shall control.

       6.      5. Notwithstanding the relief granted in this Order and any actions taken pursuant

to such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority,

or amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any

other party in interest’s right to dispute any particular claim on any grounds; (c) a promise or

requirement to pay any particular claim; (d) an implication or admission that any particular claim

is of a type specified or defined in this Order or the Motion; (e) a request or authorization to

assume any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a

waiver or limitation of the Debtors’ or any other party in interest’s rights under the Bankruptcy

Code or any other applicable law; or (g) a concession by the Debtors or any other party in

interest that any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to

this Order are valid and the Debtors and all other parties in interest expressly reserve their rights

to contest the extent, validity, or perfection or to seek avoidance of all such liens. Any payment

made pursuant to this Order should not be construed as an admission as to the validity, priority,

or amount of any particular claim or a waiver of the Debtors’ or any other party in interest’s

rights to subsequently dispute such claim.




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       7.      6. All rights and defenses of the Debtors are preserved, including all rights and

defenses of the Debtors with respect to a claim for damages arising as a result of a Contract

rejection, including any right to assert an offset, recoupment, counterclaim, or deduction. In

addition, nothing in this Order or the Motion shall limit the Debtors’ ability to subsequently

assert that any particular Contract is terminated and is no longer an executory contract or

unexpired lease, respectively.

       8.      To the extent that the Debtors propose to abandon any Personal Property that may

contain “personally identifiable information,” as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Debtors’

employees and/or customers, or any other individual (the “Confidential Information”), the

Debtors shall remove the Confidential Information from such Personal Property before such

abandonment.

       9.      The Debtors are not authorized to abandon, and are directed to remove, any

hazardous materials defined under applicable law from any nonresidential real property subject

to a rejected Contract as, and to the extent they are, required to do so by applicable law.

       10.     7. Notice of the Motion as provided therein constitutes good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

       11.     8. Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, the terms

and conditions of this Order are immediately effective and enforceable upon its entry.

       12.     9. The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.




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       13.     10. This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




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                       EXHIBIT 1

                     Rejection Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __

                           NOTICE OF REJECTION OF [A]
             CERTAIN EXECUTORY CONTRACT[S] [AND/OR UNEXPIRED LEASES]

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND
THEIR CONTRACTS OR LEASES ON EXHIBIT 1 ATTACHED HERETO AND READ
THE CONTENTS OF THIS NOTICE CAREFULLY.

             PLEASE TAKE NOTICE that on [____________], 2023, the United States Bankruptcy

Court for the District of Delaware (the “Court”) entered an order on the motion (the “Motion”)2

of debtors and debtors in possession (the “Debtors”), approving procedures for the rejection of

executory contracts and unexpired leases and granting related relief [Docket No. ____]

(the “Procedures Order”).

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by

this written notice (this “Rejection Notice”), the Debtors hereby notify you that they have

determined, in the exercise of their business judgment, that each Contract set forth on Exhibit 1

attached hereto is hereby rejected effective as of the date set forth in Exhibit 1 (the “Rejection




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Date”), or such other date as the Debtors and the counterparty or counterparties to any such

Contract agree.

         PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

rejection of any of the Contracts must file and serve a written objection so that such objection is

filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by

the following parties no later than fourteen (14) calendar days after the date that the Debtors

served this Notice: (i) the Debtors, Yellow Corporation, 11500 Outlook Street, Suite 400,

Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed counsel to the Debtors,

(A) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.: Whitney

Fogelberg (whitney.fogelberg@kirkland.com) and Rob Jacobson (rob.jacobson@kirkland.com)

and Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson

B. Smith (allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones LLP, 919 North

Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn.: Laura Davis

Jones (ljones@pszjlaw.com), Timothy P. Cairns (tcairns@pszjlaw.com), Peter J. Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of the

United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn.:        Jane Leamy (jane.m.leamy@usdoj.gov) and Richard

Schepacarter (richard.schepacarter@usdoj.gov); (iv) proposed counsel to the Committee,

(A) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New

York, NY 10036-6745 US, Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A.

Lahaie    (mlahaie@akingump.com),       and   Kevin     Zuzolo   (kzuzolo@akingump.com)        and

(B) proposed co-counsel to the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313

North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover


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(jhoover@beneschlaw.com) and Kevin M. Capuzzi (kcapuzzi@beneschlaw.com); (v) counsel to

the Junior DIP Lender, (A) Quinn Emmanuel Urquhart & Sullivan, 865 S. Figueroa St., 10th

Floor,      Los      Angeles,       CA        90017,        Attn.:     Eric        Winston         (ericwinston

@quinnemanuel.com) and 51 Madison Avenue, 22nd Floor, New York, NY 10010, Attn.:

Susheel Kirplani (susheelkirpalani@quinnemanuel.com) and (B) Ropes & Gray LLP, 191 North

Wacker      Drive,     32nd     Floor,      Chicago,       IL   60606,         Attn.:   Lucas       S.    Smith

(Luke.Smith@ropesgray.com) and 1211 Avenue of the Americas, New York, NY 10036, Attn.:

Natasha S. Hwangpo (Natasha.Hwangpo@ropesgray.com); (vi) counsel to the Junior DIP Agent,

Holland & Knight LLP, 50 N. Riverside Plaza, Suite 2700, Chicago, IL 60606, Attn.: Joshua M.

Spencer (Joshua.Spencer@hklaw.com) and Phillip W. Nelson (Phillip.Nelson@hklaw.com);

(vii) counsel to the B-2 Lenders, White & Case LLP, 1221 Avenue of the Americas, New York,

NY       10020    Attn.:   Scott     Greissman       (sgreissman@whitecase.com),             Elizabeth      Feld

(efeld@whitecase.com), and Andrew Zatz (azatz@whitecase.com); (viii) counsel to the

Prepetition ABL Agent, Choate, Hall & Stewart LLP, Two International Place, Boston, MA

02110,      Attn.:    Kevin        Simard     (ksimard@choate.com)              and     Hampton          Foushee

(hfoushee@choate.com); (ix) counsel to the B-2 Agent, Holland & Knight LLP, 50 N. Riverside

Plaza, Suite 2700, Chicago IL 60606, Attn.: Joshua M. Spencer (Joshua.Spencer@hklaw.com)

and                  Phillip                  W.                     Nelson                   (Phillip.Nelson

@hklaw.com); (x) counsel to the Prepetition UST Tranche A Agent, Hogan Lovells US LLP,

390 Madison Avenue, New York, New York 10017, Attn.: Ronald J. Silverman and Christopher

R. Bryant; (xi) counsel to the Prepetition UST Tranche B Agent, Hogan Lovells US LLP, 390

Madison      Avenue,       New       York,      NY         10017,     Attn.:      Ronald      J.     Silverman

(ronald.silverman@hoganlovells.com)                  and             Christopher             R.           Bryant


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(chris.bryant@hoganlovells.com); (xii) counsel to the United States Department of the Treasury,

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7102, Washington, DC 20005-4035, Attn.: I-Heng.Hsu (I-Heng.Hsu@usdoj.gov) and Crystal

Geise (Crystal.Geise@usdoj.gov).            Only those responses that are timely filed, served, and

received will be considered at any hearing.

        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract shall become effective on the Rejection Date set forth in Exhibit 1, or

such other date as the Debtors and the counterparty or counterparties to such Contract agree.3

        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a

hearing to consider the objection for the Contract or Contracts to which such objection relates. If

such objection is overruled or withdrawn, such Contract or Contracts shall be rejected as of the

Rejection Date set forth in Exhibit 1 or such other date as the Debtors and the counterparty or

counterparties to any such Contract agree.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or



3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
    objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
    rejection of any particular Contract listed in this Rejection Notice must state with specificity the Contract to
    which it is directed. For each particular Contract whose rejection is not timely or properly objected to, such
    rejection will be effective in accordance with this Rejection Notice and the Order.


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other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

monies without further order of the Court, unless the Debtors and the counterparty or

counterparties to such Contracts otherwise agree.

       PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

property of the Debtors that is listed and described in Exhibit 1 shall be deemed abandoned as of

the Rejection Date.     For the avoidance of doubt, any personal property that is owned by

non-Debtor third parties and is located on the premises related to any rejected non-residential

real property lease, including Rolling Stock or equipment that is leased to the Debtors, shall not

be deemed abandoned and shall remain subject to all of the rights, claims, and interests of its

non-Debtor owners.

       PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim

with respect to rejection of your Contract or Contracts, you must do so by the later of (a) the

applicable deadline for filing proofs of claim established in these chapter 11 cases and (b) thirty

(30) days after the later of (i) the effective Rejection Date and (ii) the date the Debtors relinquish

control of the premises by notifying you in writing of the Debtors’ surrender of the premises. IF

YOU FAIL TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM BY

THE DEADLINE SET FORTH HEREIN, YOU WILL BE, FOREVER BARRED, ESTOPPED,

AND ENJOINED FROM (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE

DEBTORS AND THEIR CHAPTER 11 ESTATES, (2) VOTING ON ANY CHAPTER 11

PLAN     FILED     IN    THESE     CASES      ON       ACCOUNT      OF     SUCH     CLAIM,      AND

(3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES

ON ACCOUNT OF SUCH CLAIM.


                            [Remainder of page intentionally left blank]

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Dated: [●], 2023
Wilmington, Delaware

/s/ DRAFT
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                                      Possession
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                                                   EXHIBIT 1

                                               Rejected Contracts


                                                                                    Abandoned
                               Debtor                   Description of           Personal Property,
Counterparty                 Counterparty                Contract1                 if Applicable             Rejection Date




1   The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory
    nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties
    to such Contract.
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                             Summary report:
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Changes:
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Move To                                                 0
Table Insert                                            0
Table Delete                                            0
Table moves to                                          0
Table moves from                                        0
Embedded Graphics (Visio, ChemDraw, Images etc.)        0
Embedded Excel                                          0
Format changes                                          0
Total Changes:                                          54
